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     Federal Defender
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5
6    Attorney for Defendant
     JUAN CARLOS MONTALBO
7
8
9                     IN THE UNITED STATES DISTRICT COURT

10                  FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,        ) Case No. 2:16-CR-0092 JAM
                                      )
13          Plaintiff,                )
                                      ) STIPULATION AND ORDER
14                  v.                ) CONTINUING STATUS CONFERENCE
                                      ) AND EXCLUDING TIME
15   MARCO ANTONIO RAMIREZ ZUNO       )
     et al.,                          )
16                                    ) Date:   February 5, 2019
            Defendants.               ) Time:   9:15 a.m.
17                                    ) Judge: Hon. John A. Mendez

18
19
20          It is hereby stipulated and agreed between plaintiff,
21   United States of America, and defendants, Juan Carlos Montalbo
22   and Wayne A. York II, that the status conference scheduled for
23   February 5, 2019, may be continued to February 12, 2019, at 9:15
24   a.m.
25          Counsel for Mr. Montalbo is unavailable on the 5th due to
26   other court commitments, so has asked to continue the status
27   conference one week.     Discovery in the case spans multiple
28   devices and consists of several years of emails from various

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1    persons.   All counsel continue to review that material but need

2    additional time to do so (counsel for defendant York is also new

3    to the case, having been appointed in November 2018).             Counsel

4    continue to perform legal research as well.

5         All counsel agree that the status conference should be

6    continued to February 12, 2019, and ask the Court to order time

7    excluded under the Speedy Trial Act through that date in order

8    to afford necessary time for effective preparation.          The parties

9    agree that the interests of justice to be served by a

10   continuance outweigh the best interests of the defendants and

11   the public in a speedy trial, and ask the Court to order time

12   excluded pursuant to 18 U.S.C. § 3161(h)(7)(A) and (b)(iv),

13   through February 12, 2019.

14
15                                     Respectfully Submitted,

16                                     HEATHER E. WILLIAMS
                                       Federal Defender
17
18   Dated:   January 31, 2019         /s/ T. Zindel__________________
                                       TIMOTHY ZINDEL
19                                     Assistant Federal Defender
                                       Attorney for JUAN CARLOS MONTALBO
20
21   Dated:   January 31, 2019         /s/ T. Zindel for C. Cosca
                                       CHRIS COSCA
22                                     Attorney for WAYNE A. YORK II

23                                     McGREGOR SCOTT
                                       United States Attorney
24
25   Dated:   January 31, 2019         /s/ T. Zindel for M. Morris
                                       MATTHEW G. MORRIS
26                                     Assistant U.S. Attorney

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1                                    O R D E R

2
3         The status conference is continued to February 12, 2019, at

4    9:15 a.m.   The court finds that the ends of justice served by

5    granting a continuance outweigh the best interests of the public

6    and the defendants in a speedy trial for the reasons stated

7    above.   Time is therefore excluded from the date of this order

8    through February 12, 2019, pursuant to 18 U.S.C. § 3161(h)(7)(A)

9    and (B)(iv).

10        IT IS SO ORDERED.

11
     Dated: 1/31/2019                  /s/ John A. Mendez__________
12                                     HON. JOHN A. MENDEZ
                                       United States District Judge
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